     Case 2:19-cv-00172-MKD       ECF No. 6     filed 07/08/19   PageID.45 Page 1 of 15



 1                                    HONORABLE ROSANNA M. PETERSON
 2
     Heather C. Yakely, #28848
 3
     Kutak Rock
 4   510 W. Riverside Ave., Ste. 800
 5   Spokane, WA 99201
 6
     (509) 747-4040
     (509) 747-4545 facsimile
 7   Heather.Yakely@kutakrock.com
 8   Attorney for Defendants
 9
10
                             UNITED STATES DISTRICT COURT
11
                        FOR THE EASTERN DISTRICT OF WASHINGTON
12
13     JENNIFER TYLER, an individual,             Case No. 2:19-cv-00172-RMP
14
                                   Plaintiff,            DEFENDANT’S ANSWER
15
                                                         TO COMPLAINT AND
16     vs.                                               AFFIRMATIVE DEFENSES
17
       CHELAN COUNTY, by and through                     WITH JURY DEMAND
18
       its agency the CHELAN COUNTY
19     SHERIFF’S OFFICE, a Washington
20     Municipal Corporation,
21
                                   Defendant.
22
23
24
         COMES NOW Defendant Chelan County by and through the undersigned
25
26   counsel of the law firm of Kutak Rock LLP, and for Answer to the Plaintiff’s
27
     Complaint, admit, deny, and allege as follows:
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 1
     4842-4306-8571.1
                                                                              Kutak Rock LLP
                                                                             510 W. Riverside, Suite 800
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                                                                     (509) 747-4040; fax (509) 747-4545
     Case 2:19-cv-00172-MKD             ECF No. 6   filed 07/08/19   PageID.46 Page 2 of 15



 1                                I.      NATURE OF THE ACTION
 2
              1.1       For answer to paragraph 1.1 of Plaintiff’s Complaint, no answer is
 3
 4   required. To the extent that any factual allegations are set forth therein, defendant
 5
 6
     denies the same.
 7                                II.     JURISDICTION AND VENUE
 8
 9
              2.1       For answer to paragraph 2.1 of Plaintiff’s Complaint, Defendant
10   admits the same.
11
12            2.2       For answer to paragraph 2.2 of Plaintiff’s Complaint, Defendant
13
     admits the same.
14
15            2.3       For answer to paragraph 2.3 of Plaintiff’s Complaint, Defendant
16
     admits the same.
17
18                                          III.    PARTIES
19
              3.1       For answer to paragraph 3.1 of Plaintiff’s Complaint, Defendant
20
21   admits the same.
22
              3.2       For answer to paragraph 3.2 of Plaintiff’s Complaint, Defendant
23
24   admits the same.
25
                            IV.   ADMINISTRATIVE PROCEDURES
26
27            4.1       For answer to paragraph 4.1 of Plaintiff’s Complaint, Defendant
28
     admits the same.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 2
     4842-4306-8571.1
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     Case 2:19-cv-00172-MKD          ECF No. 6   filed 07/08/19   PageID.47 Page 3 of 15



 1            4.2       For answer to paragraph 4.2 of Plaintiff’s Complaint, Defendant
 2
     admits the same.
 3
 4            4.3       For answer to paragraph 4.3 of Plaintiff’s Complaint, Defendant
 5
 6
     admits the same.
 7                              V.    FACTUAL ALLEGATIONS
 8
 9
              5.1       For answer to paragraph 5.1 of Plaintiff’s Complaint, Defendant
10   admits the same.
11
12            5.2       For answer to paragraph 5.2 of Plaintiff’s Complaint, Defendant
13
     denies the same.
14
15            5.3       For answer to paragraph 5.3 of Plaintiff’s Complaint, Defendant
16
     denies the first sentence as it is taken out of context. Defendant further denies that
17
18   the email emboldened or caused any alleged discrimination or harassment.
19
     Defendant is without sufficient information to admit or deny any reasoning by Ms.
20
21   Tyler in which “gave rise” to the filing of this suit. Defendants further deny the
22
     remainder of the paragraph.
23
24            5.4       For answer to paragraph 5.4 of Plaintiff’s Complaint, Defendant
25
     denies the same.
26
27            5.5       For answer to paragraph 5.5 of Plaintiff’s Complaint, Defendant
28
     denies the same.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 3
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     Case 2:19-cv-00172-MKD          ECF No. 6   filed 07/08/19   PageID.48 Page 4 of 15



 1            5.6       For answer to paragraph 5.6 of Plaintiff’s Complaint, Defendant
 2
     denies the same.
 3
 4            5.7       For answer to paragraph 5.7 of Plaintiff’s Complaint, Defendant
 5
 6
     denies the same.
 7            5.8       For answer to paragraph 5.8 of Plaintiff’s Complaint, Defendant
 8
 9
     denies the same.
10            5.9       For answer to paragraph 5.9 of Plaintiff’s Complaint, Defendant
11
12   denies the same.
13
                                   VI.   CLAIMS FOR RELIEF
14
15   FIRST CLAIM FOR RELIEF: Discrimination (Hostile Work Environment)
     based on sex in violation of Title VII of the Civil Rights Act of 1964, as amended,
16
     42 U.S.C. § 2000e-2(a)
17         6.1 For answer to paragraph 6.1 of Plaintiff’s Complaint, Defendant
18
     admits or denies as set forth above.
19
20            6.2       For answer to paragraph 6.2 of Plaintiff’s Complaint, Defendant’s
21
     deny to any factual allegations, as to any legal statements no answer is required.
22
23            6.3       For answer to paragraph 6.3 of Plaintiff’s Complaint, Defendant
24
25
     denies the same.
26            6.4       For answer to paragraph 6.4 of Plaintiff’s Complaint, Defendant
27
28   denies any wrongdoing as to any factual allegations.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 4
     4842-4306-8571.1
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     Case 2:19-cv-00172-MKD          ECF No. 6   filed 07/08/19   PageID.49 Page 5 of 15



 1   SECOND CLAIM FOR RELIEF: Discrimination (Harassment) based on sex
 2   in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
     2000e-2(a)
 3
 4            6.5       For answer to paragraph 6.5 of Plaintiff’s Complaint, Defendant
 5
 6
     admits or denies as set forth above.
 7            6.6       For answer to paragraph 6.6 of Plaintiffs’ Complaint, Defendant’s
 8
 9
     deny to any factual allegations, as to any legal statements no answer is required.
10            6.7       For answer to paragraph 6.7 of Plaintiffs’ Complaint, Defendant
11
12   denies the same.
13
              6.8       For answer to paragraph 6.8 of Plaintiff’s Complaint, Defendant
14
15   denies any wrongdoing as to any factual allegations.
16
     THIRD CLAIM FOR RELIEF: Discrimination based on sex in violation of Title
17   VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a)
18
19            6.9       For answer to paragraph 6.9 of Plaintiff’s Complaint, Defendant
20
     admits or denies as set forth above.
21
22            6.10 For answer to paragraph 6.10 of Plaintiff’s Complaint, no answer is
23
     required as it sets forth legal standards, only to the extent that any fact is set forth
24
25   defendants deny the same.
26
              6.11 For answer to paragraph 6.11 of Plaintiff’s Complaint, Defendant
27
28   denies the same.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 5
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                                                                               Kutak Rock LLP
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 1            6.12 For answer to paragraph 6.12 of Plaintiff’s Complaint, Defendant
 2
     denies the same.
 3
 4            6.13 For answer to paragraph 6.13 of Plaintiff’s Complaint, Defendant
 5
 6
     denies the same.
 7            6.14 For answer to paragraph 6.14 of Plaintiff’s Complaint, Defendant
 8
 9
     denies the same.
10            6.15 For answer to paragraph 6.15 of Plaintiff’s Complaint, Defendant
11
12   denies any wrongdoing as to any factual allegations.
13
     FOURTH CLAIM FOR RELIEF: Retaliation in violation of Title VII of the
14   Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a).
15
              6.16 For answer to paragraph 6.16 of Plaintiff’s Complaint, Defendant
16
17   admits or denies as set forth above.
18
              6.17 For answer to paragraph 6.17 of Plaintiff’s Complaint, no answer is
19
20   required as it sets forth legal standards, only to the extent that any fact is set forth
21
     defendants deny the same.
22
23            6.18 For answer to paragraph 6.18 of Plaintiff’s Complaint, Defendant is
24
25
     without sufficient information to admit or deny the first sentence. Defendants deny
26   Sheriff Burnett took any adverse action against Plaintiff. Defendants are further
27
28   without sufficient information to admit or deny the remainder of the paragraph.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 6
     4842-4306-8571.1
                                                                              Kutak Rock LLP
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 1            6.19 For answer to paragraph 6.19 of Plaintiff’s Complaint, Defendant
 2
     denies the same.
 3
 4            6.20 For answer to paragraph 6.20 of Plaintiff’s Complaint, Defendant
 5
 6
     denies the same.
 7            6.21 For answer to paragraph 6.21 of Plaintiff’s Complaint, Defendant
 8
 9
     denies the same.
10            6.22 For answer to paragraph 6.22 of Plaintiff’s Complaint, Defendant
11
12   denies the same.
13
              6.23 For answer to paragraph 6.23 of Plaintiff’s Complaint, Defendant
14
15   denies any wrongdoing as to any factual allegations.
16
     FIFTH CLAIM FOR RELIEF: Discrimination (Hostile Work Environment)
17   based on sex in violation of Washington Law Against Discrimination (WLAD),
18   RCW 49.60.180.
19
              6.24 For answer to paragraph 6.24 of Plaintiff’s Complaint, Defendant
20
21   admits or denies as set forth above.
22
              6.25 For answer to paragraph 6.25 of Plaintiff’s Complaint, no answer is
23
24   required as it sets forth legal standards, only to the extent that any fact is set forth
25
     defendants deny the same.
26
27            6.26 For answer to paragraph 6.26 of Plaintiff’s Complaint, Defendant
28
     denies the same.
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 7
     4842-4306-8571.1
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 1            6.27 For answer to paragraph 6.27 of Plaintiff’s Complaint, Defendant
 2
     denies the same.
 3
 4            6.28 For answer to paragraph 6.28 of Plaintiff’s Complaint, Defendant
 5
 6
     denies any wrongdoing as to any factual allegations.
 7   SIXTH CLAIM FOR RELIEF: Discrimination (Harassment) based on sex in
 8   violation of the Washington Law Against Discrimination, (WLAD), RCW
 9
     49.60.180.
10            6.29 For answer to paragraph 6.29 of Plaintiff’s Complaint, Defendant
11
12   admits or denies as set forth above.
13
              6.30 For answer to paragraph 6.30 of Plaintiff’s Complaint, no answer is
14
15   required as it sets forth legal standards, only to the extent that any fact is set forth
16
     defendants deny the same.
17
18            6.31 For answer to paragraph 6.31 of Plaintiff’s Complaint, Defendant
19
     denies the same.
20
21            6.32 For answer to paragraph 6.32 of Plaintiff’s Complaint, Defendant
22
     denies the same.
23
24            6.33 For answer to paragraph 6.33 of Plaintiff’s Complaint, Defendant
25
     denies any wrongdoing as to any factual allegations.
26
27
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 8
     4842-4306-8571.1
                                                                              Kutak Rock LLP
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 1   SEVENTH CLAIM FOR RELIEF: Discrimination based on sex in violation of
 2   the Washington Law Against Discrimination, (WLAD), RCW 49.60.180.
 3
              6.34 For answer to paragraph 6.34 of Plaintiff’s Complaint, Defendant
 4
 5   admits or denies as set forth above.
 6
              6.35 For answer to paragraph 6.35 of Plaintiff’s Complaint, no answer is
 7
 8   required as it sets forth legal standards, only to the extent that any fact is set forth
 9
     defendants deny the same.
10
11            6.36 For answer to paragraph 6.36 of Plaintiff’s Complaint, Defendant
12
     denies the same.
13
14            6.37 For answer to paragraph 6.37 of Plaintiff’s Complaint, Defendant
15
     denies the same.
16
17            6.38 For answer to paragraph 6.38 of Plaintiff’s Complaint, Defendant
18
     denies the same.
19
20            6.39 For answer to paragraph 6.39 of Plaintiff’s Complaint, Defendant
21
     denies the same.
22
23            6.40 For answer to paragraph 6.40 of Plaintiff’s Complaint, Defendant
24
25
     denies any wrongdoing as to any factual allegations.
26
27
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 9
     4842-4306-8571.1
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 1   EIGHTH CLAIM FOR RELIEF: Retaliation in violation of the Washington
 2   Law Against Discrimination, (WLAD), RCW 49.60.210.
 3
 4            6.41 For answer to paragraph 6.41 of Plaintiff’s Complaint, Defendant
 5
 6
     admits or denies as set forth above.
 7            6.42 For answer to paragraph 6.42 of Plaintiff’s Complaint, no answer is
 8
 9
     required as it sets forth legal standards, only to the extent that any fact is set forth
10   defendants deny the same.
11
12            6.43 For answer to paragraph 6.43 of Plaintiff’s Complaint, Defendant
13
     denies the first three sentences, further, Defendant is without sufficient
14
15   information to admit or deny the reasoning’s why Plaintiff ran for office.
16
              6.44 For answer to paragraph 6.44 of Plaintiff’s Complaint, Defendant
17
18   denies the same.
19
              6.45 For answer to paragraph 6.45 of Plaintiff’s Complaint, Defendant
20
21   denies the same.
22
              6.46 For answer to paragraph 6.46 of Plaintiff’s Complaint, Defendant
23
24   denies the same.
25
              6.47 For answer to paragraph 6.47 of Plaintiff’s Complaint, Defendant
26
27   denies the same.
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 10
     4842-4306-8571.1
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     Case 2:19-cv-00172-MKD          ECF No. 6   filed 07/08/19   PageID.55 Page 11 of 15



 1            6.48 For answer to paragraph 6.48 of Plaintiff’s Complaint, Defendant
 2
     denies any wrongdoing as to any factual allegations.
 3
 4   NINTH CLAIM FOR RELIEF: Negligence in violation of Washington common
 5   law.
 6
              6.49 For answer to paragraph 6.49 of Plaintiff’s Complaint, Defendant
 7
 8   admits or denies as set forth above.
 9
              6.50 For answer to paragraph 6.50 of Plaintiff’s Complaint, no answer is
10
11   required as it sets forth legal standards, only to the extent that any fact is set forth
12
     defendants deny the same.
13
14            6.51 For answer to paragraph 6.51 of Plaintiff’s Complaint, Defendant
15
     denies the same.
16
17                                 VII. PRAYER FOR RELIEF
18
              No Answer is required to Plaintiff’s Prayer for Relief.
19
20                                 AFFIRMATIVE DEFENSES
21
              For further answer, and as affirmative defenses, Defendant alleges as
22
23   follows:
24
25
              1.        Plaintiffs’ Complaint fails to state a cause of action against the
26   County, pursuant to Monell v. Department of Social Services of the City of New
27
28   York, 436 U.S. 658, 98 S.Ct. 2018 (1978), there can be no recovery for a federal
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 11
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     Case 2:19-cv-00172-MKD           ECF No. 6    filed 07/08/19   PageID.56 Page 12 of 15



 1   civil rights violation when there is no constitutional deprivation occurring pursuant
 2
     to governmental custom, policy or practice;
 3
 4            2.        Plaintiff’s Complaint fails to state a claim upon which relief may be
 5
 6
     granted;
 7            3.        Defendant is entitled to absolute and/or qualified immunity;
 8
 9
              4.        Plaintiff’s own actions proximately caused and/or contributed to any
10   allegedly resulting injuries or damages;
11
12            5.        All actions taken by this Answering Defendant of which Plaintiff
13
     complains were based upon legitimate and legal factors, and not related to any
14
15   retaliatory motives of it.
16
              6.        Plaintiff’s claims are barred in whole, or in part, by the doctrine of
17
18   unclean hands.
19
              7.        Plaintiff’s claims may be barred in whole or in part by the doctrines
20
21   of estoppel, waiver, and/or laches.
22
              8.        Pending discovery, Plaintiff’s claims may be subject to some of the
23
24   defenses set forth in Court Rule 12(b).
25
              9.        Pending discovery, Defendants reserve their right to assert the
26
27   defense of after-acquired evidence.
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 12
     4842-4306-8571.1
                                                                                 Kutak Rock LLP
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     Case 2:19-cv-00172-MKD           ECF No. 6    filed 07/08/19   PageID.57 Page 13 of 15



 1            10.       Plaintiff’s claims may be barred in whole or in part to the extent that
 2
     Plaintiff failed to properly exhaust statutory, regulatory, internal, or administrative
 3
 4   procedures, requirements and remedies.
 5
 6
              11.       Without conceding that Plaintiff has suffered any damage(s) as a
 7   result of any alleged wrongdoing, any claim for relief must be set off and/or
 8
 9
     reduced by wages, compensation, pay and benefits, or any other earnings or
10   remunerations, profits, and benefits actually received by Plaintiff.
11
12            12.       Without conceding that Plaintiff has suffered any damage(s) as a
13
     result of any wrongdoing, Plaintiff may have failed to act reasonably to mitigate
14
15   the damages she has alleged.
16
              13.       Defendant Chelan County's actions or conduct, in their individual
17
18   and/or official capacity, were reasonable at all times relevant hereto and were
19
     undertaken in good faith;
20
21            14.       Defendant Chelan County acted with reasonable care;
22
              15.       Defendant Chelan County reserves the right to amend their Answer
23
24   to include additional affirmative defenses and/or counterclaim that may more fully
25
     develop and/or any counterclaim to third party action that may be appropriate.
26
27
28
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
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     4842-4306-8571.1
                                                                                 Kutak Rock LLP
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 1                                     PRAYER FOR RELIEF
 2
              WHEREFORE, having fully answered Plaintiffs’ Complaint and having set
 3
 4   forth their affirmative defenses, Defendant prays for the following relief:
 5
 6
              1.        That Plaintiff’s action be dismissed with Plaintiff taking nothing
 7   thereby;
 8
 9
              2.        Leave to amend this Answer to conform to proof later discovered,
10   pleaded, or offered;
11
12            3.        An award of reasonable attorneys’ fees and costs incurred in
13
     responding to and defending against Plaintiff’s claims in this action; and
14
15            4.        For other and further relief as the Court deems just and equitable.
16
                                        DEMAND FOR JURY
17
18            Defendants hereby demand a Jury trial for all issues so triable.
19
              DATED this 8th day of July, 2019.
20
21                                                KUTAK ROCK, LLP
22
                                                  By: /s/ Heather C. Yakely
23                                                Heather C. Yakely, #28848
24                                                Attorney for Defendant
25
                                                  Kutak Rock, LLP
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                                                  Heather.Yakely@kutakrock.com
29
30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
     DEFENSES AND JURY DEMAND - page 14
     4842-4306-8571.1
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                                                                        (509) 747-4040; fax (509) 747-4545
     Case 2:19-cv-00172-MKD        ECF No. 6    filed 07/08/19   PageID.59 Page 15 of 15



 1                                CERTIFICATE OF SERVICE
 2
              I hereby certify that on the 8th day of July, 2019, I electronically filed the
 3
 4   foregoing with the Clerk of the Court using CM/ECF System which will send
 5   notification of such filing to the following:
 6
 7            Michael J. Kelly:         mike@gehrkelawoffices.com
 8
              Joseph O. Baker:          joseph@gehrkelawoffices.com
 9
10
                                               KUTAK ROCK LLP
11
12                                             By s/ Heather C. Yakely
13                                             Heather C. Yakely, #28848
14
                                               Attorneys for Defendant
                                               Kutak Rock, LLP
15                                             510 W. Riverside Ave., Ste. 800
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18                                             Heather.Yakely@kutakrock.com
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30   DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE
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